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        EXHIBIT
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From: Tim Sweeney <tim.sweeney@epicgames.com>
Subject: Consumer Choice & Competition
Date: June 30, 2020 at 4:00:09 PM PDT
To: Tim Cook <tcook@apple.com>, Phil Schiller <schiller@apple.com>, Craig Federighi
<federighi@apple.com>, Matt Fischer <matt.fischer@apple.com>

Dear Tim, Phil, Craig, Matt,

Because of restrictions imposed by Apple, Epic is unable to provide consumers with certain features in
our iOS apps. We would like to offer consumers the following features:

1) Competing payment processing options other than Apple payments, without Apple’s fees, in Fortnite
and other Epic Games software distributed through the iOS App Store;

2) A competing Epic Games Store app available through the iOS App Store and through direct installation
that has equal access to underlying operating system features for software installation and update as
the iOS App Store itself has, including the ability to install and update software as seamlessly as the iOS
App Store experience.

If Epic were allowed to provide these options to iOS device users, consumers would have an opportunity
to pay less for digital products and developers would earn more from their sales. Epic is requesting that
Apple agree in principle to permit Epic to roll out these options for the benefit of all iOS customers. We
hope that Apple will also make these options equally available to all iOS developers in order to make
software sales and distribution on the iOS platform as open and competitive as it is on personal
computers.

As you know, Epic was required to accept your standard, non-negotiable contracts, like the Apple
Developer Program License Agreement, in order to offer products on iOS devices through the iOS App
Store. Epic is also required to comply with Apple’s unilateral standards documents to obtain app
approval, like Apple’s App Store Review Guidelines. Apple’s contracts and standards documents contain
restrictive provisions that prohibit Epic from offering a competing app store and competing payment
processing options to consumers. Apple would need to provide a side letter or alter its contracts and
standards documents to remove such restrictions to allow Epic to provide a competing app store and
competing payment processing option to iOS customers.

Please confirm within two weeks if Apple agrees in principle to allow Epic to provide a competing app
store and competing payment processing, in which case we will meet with your team to work out the
details including Epic’s firm commitment to utilize any such features diligently to protect device security,
customer privacy, and a high-quality user experience. If we do not receive your confirmation, we will

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understand that Apple is not willing to make the changes necessary to allow us to provide Android
customers with the option of choosing their app store and payment processing system.

Best Regards,

Tim Sweeney
Founder & CEO
Epic Games




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